Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

B 6 Summary (Official Form 6 - Summary) (12/14)

In re

ANDREW JAMES WALKER

Document

Debtor

Page 1 of 31

570541
UNITED STATES BANKRUPTCY COURT

District of Columbia

Case No.

%

o,°0
Chapter tgs o, + Ye
SUMMARY OF SCHEDULES °

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, 1.
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they tile a case under chapter 7, 11, or 13.

py Noy,

ATTACHED
NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS LIABILITIES OTHER
A - Real Property $
Yes 1
B - Personal Property $
Yes 3 945.00
C - Property Claimed
as Exempt Yes 1
D - Creditors Holding $
Secured Claims Yes 1 0.00
E - Creditors Holding Unsecured $
Priority Claims Yes 2 0.00
(Total of Claims on Schedule E)
F - Creditors Holding Unsecured $
Nonpriority Claims Yes 3 88,953.56
G - Executory Contracts and
Unexpired Leases Yes 1
H - Codebtors Yes 1
I- Current Income of Yes 2 $ 0.00
Individual Debtor(s)
J - Current Expenditures of Individual Yes 3 $ 1,400.00
Debtors(s)
TOTAL 181% 945.00 | $ 88,953.56

Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
Document Page 2 of 31

B6A (Official Form 6A) (12/07)

Inre ANDREW JAMES WALKER

Debtor

Case No.

SCHEDULE AGXEAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’ s own benefit. If the debtor is married. state whether the husband, wife, both, or the marital community own the property by placing an “H.”
“WJ,” or °C” in the column labeled “Husband, Wife, Joint, or Community.” [f the debtor holds no interest in real property, write “None” under

“Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims

to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property

Claimed as Exempt.

(Uf known)

CURRENT vate

—_
=
DESCRIPTION Sz AMOUNT O
LOCATION OF NATU EBTOR’S ur= OF DEBTOR’S SECURED
PROPERTY INTEREST IN PROPERTY == INTEREST IN CLAIM
oS | PROPERTY, WITHOUT
== DEDUCTING ANY
2 SECURED CLAIM
= OR EXEMPTION
NONE

Total >

(Report also on Summary of Schedules.)

Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
Document Page 3 of 31

BOA (Offictal Form 6A) (12/07)

Inre ANDREW JAMES WALKER

Debtor

Case No.

SCHEDULE AGREAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including al! property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married. state whether the husband, wife. both. or the marital community own the property by placing an “H.”
“We? J," or °C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under

“Description and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims

to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

It the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property

Claimed as Exempt.

(if known)

_

=
DESCRIPTION AND Ss — CURRENT VALUE AMOUNT OF
LOCATION OF NATURE OF DEBTOR’S wz OF DEBTOR’S SECURED
PROPERTY INTEREST IN PROPERTY == INTEREST IN CLAIM

aS | PROPERTY, WITHOUT
== DEDUCTING ANY
2 SECURED CLAIM
= OR EXEMPTION

NONE

Total >

(Report also on Summary of Schedules.)

Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

B 6B (Official Form 6B) (12/07)

Inre ANDREW JAMES WALKER

Document Page 4of 31

Debtor

SCHEDULE B - PERSONAL PROPERTY

; Case No.

(If known)

Except as directed below, list all personal property of io: of whatever kind. If the debtor has no property in one or more of the categories,

we

place an “x” in the appropriate position in the column labeled “None.”

* If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an

individual or a joint petition is filed. state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

If the property is being held tor the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
“A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

TYPE OF PROPERTY

AZO

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, WIFE, JOINT,
OR COMMUNITY

CURRENT VALUE OF
DEBTOR’S INTEREST
IN PROPERTY, WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

| Cash on hana LJ

2. Checking, savings or other finan-

cial accounts, certificates of deposit

or shares in banks, savings and loan, =)
thrift, building and loan, and home-

stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-
ittes, telephone companies, fand-
lords, and others.

4 Household goods and furnishings (=)
including audio, video, and computer
equipment.

5. Books; pictures and other art
objects; antiques; stamp, coin,
record, tape. compact disc, and other
collections or collectibles.

6. Wearing apparel. =

7 Furs and jewelry.

8. Firearms and sports, photo-
graphic, and other hobby equipment

9. Interests in insurance policies
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name
each tssuer.

{1 Interests in an education [RA as =)
defined in 26 U.S.C. § 530(b)(1) or urder
a qualified State tuition plan as defined in
26 U.S.C. § 529(b)(1). Give particulars.
(File separately the record(s) of any such

interest(s). 11 U.S.C. § 521(c).)

120 GALLUP STREET
MOUNT CLEMENS MI 48043

120 GALLUP ST
MOUNT CLEMENS 48043

120 GALLUP ST MOUNT CLEMENS 48043

$45.00

$300.00

$300.00

$300.00

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Document Page 5of 31

Inre ANDREW JAMES WALKER ; Case No.
Debtor (If known)

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

CURRENT VALUE OF
DEBTOR’S INTEREST
IN PROPERTY, WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

TYPE OF PROPERTY DESCRIPTION AND LOCATION

OF PROPERTY

HUSBAND, WIFE, JOINT,

OR COMMUNITY

mMZOz

12 Interests in IRA, ERISA, Keogh, or
other pension or profit sharing plans. X
Give particulars.

13. Stock and interests in incorporated
and unincorporated businesses x
Itemize.

14 Interests in partnerships or joint
ventures. Itemize X

15. Government and corporate bonds
and other negotiable and non- xX
negotiable instruments

16 Accounts receivable. =) X

17 Alimony, maintenance, support,

and property settlements to which the
debtor is or may be entitled. Give Xx
particulars.

18. Other liquidated debts owed (=)
debtor including tax refunds Give

particulars.

19 Equitable or future interests, life
estates. and rights or powers exercisable
for the benetit of the debtor other than
those listed in Schedule A — Real xX
Property.

20 Contingent and noncontingent (=)
interests in estate of a decedent. deat
benefit plan, life insurance policy, or trust. xX

21. Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclaims of the debtor, and
rights to setoff claims. Give estimated x
value of each.

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Document Page 6 of 31
Inre ANDREW JAMES WALKER ; Case No.
Debtor (if known)
(Continuation Sheet)
i CURRENT VALUE OF
g DEBTOR’S INTEREST
N BE IN PROPERTY, WITH-
TYPE OF PROPERTY oO DESCRIPTION AND LOCATION =3 OUT DEDUCTING ANY
N OF PROPERTY = 3 SECURED CLAIM
E Ze OR EXEMPTION
=
22. Patents, copyrights. and other
intellectual property. Give particulars Xx
23 Licenses, tranchises. and other general
intangibles. Give particulars. x
24. Customer lists or other compilations
containing personally tdentifiable
information (as defined in L! U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining a x
product or service from the debtor
primarily for personal. family, or
household purposes.
25. Automobiles, trucks, trailers (=)
and other vehicles and accessories: x
26. Boats, motors, and accessonies.
27. Aircraft and accessories.
28 Office equipment, furnishings,
and supplies. X
29. Machinery, fixtures, equipment,
and supplies used in business. xX
30. Inventory x
31 Animals X
32. Crops - growing or harvested.
Give particulars. Xx
33. Farming equipment and implements. Xx
34. Farm supplies, chemicals, and feed. x
35. Other personal property of any kind
not already listed. Itemize. X
continuation sheets attached Total> 945.00

(Include amounts from any continuation

sheets attached. Report total also on

Summary of Schedules )

Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

Document Page 7 of 31
Form B6B (12/07)

ANDREW JAMES WALKER Case No.

In re

SCHEDULE B- PERSONAL PROPERTY

(CONTINUATION SHEET - Provide any additional property or further description here to answers above)

CURRENT VALUE

TYPE OF PROPERTY N DESCRIPTION AND LOCATION OF H | OF DEBTOR’S INTEREST IN

O PROPERTY Ww PROPERTY, WITHOUT

N J | DEDUCTING ANY SECURED

E Cc CLAIM OR EXEMPTION

X

X

X

Sheet of __ continuation
sheets attached to Schedule B

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In re ANDREW JAMES WALKER

Document

°

Debtor

Page 8 of 31

Case No.

(if known}

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:

(Check one box)
11 U.S.C. § 522(b)(2)
O IL US.C. § 522(b)(3)

O Check if debtor claims a homestead exemption that exceeds
$155,675.*

CURRENT
R SPECIFY LAW VALUE OF VALUE OF provi )
DESCRI OF PROPERTY PROVIDING EAC CLAIMED =) WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTION
clothes 11 USC SEC 522(B)(2) $300.00 $0.00
books 11 USC SEC 522(B)(2) $300.00 $0.00
computer equipment 11 USC SEC 522(B)(2) $300.00 $0.00
cash on hand 11 USC SEC 522(B)(2) $45.00 $0.00

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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Document Page 9 of 31

In re ANDREW JAMES WALKER Case No.
Debtor (if known)

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under: O Check if debtor claims a homestead exemption that exceeds
(Check one box) $155,675.*

11 U.S.C. § 522(b)(2)
O II US.C. § 522(b)(3)

CURRENT

wm SPECIFY LAW VALUE OF VALUE OF rrori=)

DESCRI OF PROPERTY PROVIDING EAC CLAIMED =) WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTION

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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Document Page 10 of 31

In re ANDREW JAMES WALKER . Case No.
Debtor (if known)

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under: CO Check if debtor claims a homestead exemption that exceeds
(Check one box) $155,675.*

11 U.S.C. § 522(b)(2)
O Lt US.C. § 522(b)(3)

CURRENT

mR SPECIFY LAW VALUE OF VALUE OF Prov]

DESCRI OF PROPERTY PROVIDING EAC CLAIMED WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTION

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
Document Page 11 of 31
B 6D (Official Form 6D) (12/07)
In re_ ANDREW JAMES WALKER . Case No.
Debtor (if known)

SCHEDULE D=REDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See. 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H ~ Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife.
Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed. place an “X”™ in the column labeled “Disputed.” (You may need to place an ‘“X” in more than one of
these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral!” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts. report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

o®

heck this box if debtor has no creditors holding secured claims to report on this Schedule D.

CREDITOR’S NAME AND me: > DATE CLAIM WAS AMOUNT OF CLAIM UNSECURED
MAILING ADDRESS 5 = me INCURRED, 4 = a WITHOUT 2 PORTION, IF
INCLUDING ZIP CODE AND . ° Zz NATURE OF LIEN, | © 4s = DEDUCTING VA ANY
AN ACCOUNT NUMBER = S = AND Zz 5 = OF COLLATERAL Se
(See Instructions Above.) a = 3 Ss DESCRIPTION 5 Yo BL
5 A= AND VALUE 0, Coleg iF
= PROPERTY = O14
a SUBJECT TO LI
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
____ continuation sheets Subtotal > $ $
attached (Total of this page) 0.00 0.00
Total >
(Use only on last page) § 0.00 5 0.00
(Report also on Summary of — (If applicable, report
Schedules.) also on Statistical

Summary of Certain
Liabilities and Related
Data )
Case 15-00541-SMT Doc? Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
Document Page 12 of 31
B 6D (Official Form 6D) (12/07) ~ Cont. 2
In re_ANDREW JAMES WALKER ; Case No.
Debtor (if known)
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
CREDITOR’S NAME AND ef DATE CLAIM WAS ~ a AMOUNT OF CLAIM UNSECURED
MAILING ADDRESS & z 4e INCURRED, NATURE Z; &/a WITHOUT PORTION, IF
INCLUDING ZIP CODE e - ° Zz OF LIEN , AND 9 a & DEDUCTING VALUE ANY
AND AN ACCOUNT a S 5 DESCRIPTION AND 2/5 = OF COLLATERAL
NUMBER & s SE VALUE OF PROPERTY 5 S| 2
(See Instructions Above.) 5 w = 8 SUBJECT TO LIEN S 5 a
x ~
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
Sheet no. of continuation Subtotal (s) > $ $
sheets attached to Schedule of (Total(s) of this page)
Creditors Holding Secured 0.00 0.00
Claims
Total(s) > $ $
(Use only on fast page)

(Report also on
Summary of Schedules.)

(If applicable,
report also on

Statistical Summary
of Certain

Liabilities and

Related Data )

Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
Document Page 13 of 31

In re ANDREW JAMES WALKER Case No.
Debtor (if known)

SCHEDULE D ATTACHMENT

Item Further Explanation
Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

Document Page 14 of 31
B6E (Official Form 6E) (04/13)

In re ANDREW JAMES WALKER Case No.
Debtor (if known)

SCHEDULE E - CREDITORS HOLING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority. listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number. if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H.” "W," "J." or "C” in the column labeled "Husband. Wife.
Joint, or Community.” If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated.” If the claim is disputed, place an "X" in the column labeled "Disputed.” (You may need to place an "X" in more
than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all claims fisted on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total ot amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all

amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

CJ Check _ box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) betow if claims in that category are listed on the attached sheets.)

C] Domestic Support Obligations =)

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
{1 U.S.C. § 507(a)(1).

CT] Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

oO Wages, salaries, and commissions =

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

CX Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition. or the
cessation of business, whichever occurred first. to the extent provided in 1! U.S.C. § 507(a)(5).

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
Case 15-00541-SMT Doc7_ Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

Document Page 15 of 31
B6E (Official Form 6E) (04/13) — Cont.

In re ANDREW JAMES WALKER ; Case No.
Debtor (if known)

L Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

O Deposits by individuals
Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,

that were not delivered or provided. tl U.S.C. § 507(a)(7).

CJ Taxes and Certain Other Debts Owed to Governmental Units =)

Taxes, custams duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

O Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency. or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

OC Claims for Death or Personal Injury While Debtor Was Intoxicated =

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).

* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

continuation sheets attached
Case 15-00541-SMT Doc/7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
B6E (Official Form 6E) (04/13) — Cont. Document Page 16 of 31

In re ANDREW JAMES WALKER ; Case No.
Debtor (if known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

(Continuation Sheet)

Type of Priority for Claims Listed on This Sheet

us
CREDITOR’S NAME, = ~& ) DATECLAIMWAS | & | 8 AMOUNT AMOUNT AMOUNT
MAILING ADDRESS aoe INCURRED AND Ble lea OF ENTITLED NOT
INCLUDING ZIP CODE, 22 | CONSIDERATION g a |e CLAIM TO ENTITLED
AND ACCOUNT NUMBER soz FOR CLAIM = 5 > PRIORITY TO
x ane So — x
(See instructions above.) = = v z g a PRIORITY, IF
& o]z {18 ANY
a ~
©
ov
Account No.
Account No.
Account No.
Account No.
Sheet no ___ of ___ conumnuation sheets attached to Schedule of Subtotals» | $ $
Creditors Holding Prority Claims (Totals of this page} 0.00 0.00 0.00
Total> | $
(Use only on last page of the completed
Schedule E. Report also on the Summary 0.00
of Schedules.)
Totals> $ $
(Use only on last page of the completed
Schedule E. If applicable, report also on 0.00 0.00
the Statistical Summary of Certain
Liabilities and Related Data.)

B 6F (Official F (ha790541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

Document Page 17 of 31
In re ANDREW JAMES WALKER , Case No.

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. Ifa joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H.” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

if the claim is contingent, place an “X”™ in the column labeled “Contingent.” If the claim is unliquidated, place an “X™ in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities

and Related Data..

Q1_ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

ay
CREDITOR’S NAME, = ~ eo DATE CLAIM WAS e AMOUNT OF
MAILING ADDRESS 5 = Oo 7 INCURRED AND Zz fH CLAIM
INCLUDING ZIP CODE, E Bp E 3 CONSIDERATIONEOR o1 fs a
AND ACCOUNT NUMBER m | <es CLAIM. 2/515
(See instructions above.) R m S 8 IF CLAIM IS SUBJECT TO 5 Y &
oO |e SETOFF, SO STATE. cle} a
>
ACCOUNT NO. 153GV1 100995200
PRINCE WILLIAM COUNTY DIST CT / 0640184593
7/2011 X $7,000.00
9311 LEE AVENUE MANASSAS VA 20110 = 703-792-6141
SCOTT ALAN WEIBLE PLLC 0640184593
ACCOUNT NO. BK282PG772
CHESTERFIELD COUNTY CIRCUIT/ ID 0603907470
2/2010 X $30,000.00
10100 IRON BRIDGE ROAD #125
CHESTERFIELD, VA 23832
ACCOUNT NO. 1488434/0033637022
CENTRAL CREDIT AUDIT 100 N 3RD ST 4/2014 x $1 744.00
SUNBURY PA 17801
ACCOUNT NO, 013GV0800608500
ARLINGTON CO DISTRICT CT
© s 2/2009 X $10,122.00
1435 N COURTHOUSE RD ARLINGTON VA
22201 - ACCT #0603907470
Subtotal> | $ 48,866.00
2 continuation sheets attached Total> | $
(Use only on last page of the completed Schedule F )
(Report also on Summary of Schedules and, if applicable. on the Statistical
Summary of Certain Liabilities and Related Data.)

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B 6F (Official Form SF br Qo4 Document Page 18 of 31

In re ANDREW JAMES WALKER ; Case No.

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

DATE CLAIM WAS
INCURRED AND
CONSIDERATION FOR
CLAIM.

IF CLAIM IS SUBJECT TO
SETOFF, SO STATE.

AMOUNT OF
CLAIM

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER

(See instructions above.)

CODEBTOR
HUSBAND, WIFE,
JOINT, OR
COMMUNITY
CONTINGENT
UNLIQUIDATED
DISPUTED

ACCOUNT NO. 288352981 9/2013

RR RESOURCE RECOVERY LL
X $2,906.00

88 E TIOGA AVE CORNING, NY 14830
800-433-1502

ACCOUNT NO. 288347938
RR RESOURCE RECOVERY LL

8/2013 Xx $72.00

88 E TIOGA AVE CORNING, NY 14830
800-433-1502

ACCOUNT NO. 288290435 3/2013

RR RESOURCE RECOVERY LL Xx $211.00

88 E TIOGA AVE CORNING NY 14830
800-433-1502

ACCOUNT NO. 3619850 2/2011

FAIR COLLECTIONS AND OUTSOURCING x $5,781.00

12304 BALTIMORE AVE STE E BELTSVILLE,
MD 20705 - 0584217967

ACCOUNT NO, 99214254 7/2014

COUNTY OF PRINCE WILLIAM X $164.86

1 COUNTY COMPLEX COURT, PRINCE WILLIAM
VA 22192

Sheet no.__1_ of _2 continuation sheets attached Subtotal> | $
to Schedule of Creditors Holding Unsecured 9,134.86
Nonpriority Claims

Total> | $

(Use only on last page of the completed Schedule F.)

(Report also on Summary of Schedules and. if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

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(Official Form 6F) (12/07) - Cont. Document Page 19 of 31

In re ANDREW JAMES WALKER , Case No.

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

ut
CREDITOR’S NAME, ~ = ~ a DATE CLAIM WAS 5 QO AMOUNT OF
MAILING ADDRESS S| 2cZz INCURRED AND & |E 18 CLAIM
INCLUDING ZIP CODE, | 8 | 25% | CONSIDERATIONFOR | 9 | 4 | 5
AND ACCOUNT NUMBER a s oe CLAIM. a 5 a
(See instructions above ) S nm S IF CLAIM IS SUBJECT TO é oY a
a SETOFF, SO STATE. Oo \¢
~
ACCOUNT NO. 2213-02 SEPT 2015
WESTLAKE LEGAL GROUP 46175 WESTLAKE DRIVE
Xx $26,000.00
#320 POTOMAC FALLS, VA 20165
ACCOUNT NO. 23178
LEISER LAW FIRM PLLC AUG 2015 x $4,306.92
1749 OLD MEADOW ROAD
#630 MCLEAN, VA 22102
ACCOUNT NO. 821309220016 SEP 2015
SUBURBAN CREDIT CORP X $620.00
6142 FRANCONIA RD, PO BOX 30640
ALEXANDRIA VA 22310-2521
ACCOUNT NO. 43875912 SEP 2015
LABCORP OF AMERICA HOLDINGS xX $25.78
PO BOX 2240 BURLINGTON, NC 27216-2240
ACCOUNT NO 362825522
Medicredit PO Box 411187 x $1,000.00
Saint Louts, MO 63141-3187
Sheetno.__2 of __2 continuation sheets attached Subtotal> | $
to Schedule of Creditors Holding Unsecured 31,952.70
Nonpriority Claims
Total >
(Use only on last page of the completed Schedule F.) 89,953.56
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

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NE) CID Document Page 20 of 31

In re ANDREW JAMES WALKER : Case No.

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

a
CREDITOR’S NAME, ~ : w~ ze DATE CLAIM WAS be Q AMOUNT OF
MAILING ADDRESS © ~CF INCURRED AND 421218 CLAIM
INCLUDING ZIP CODE, m Bp E = CONSIDERATION FOR SEIS
AND ACCOUNT NUMBER | | S55 CLAIM. Ee |S |g
(See instructions above.) 8 nm 5 IF CLAIM IS SUBJECT TO 5 om a
SETOFF, SO STATE. o |e
~
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
Sheet no. of. continuation sheets attached Subtotal | $
to Schedule of Creditors Holding Unsecured 0.00
Nonpriority Claims
Total> | $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

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Document Page 21 of 31

In re ANDREW JAMES WALKER ; Case No.

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

i}
CREDITOR’S NAME, w 5 x 7 DATE CLAIM WAS QO AMOUNT OF
MAILING ADDRESS G22 INCURRED AND <- 1218 CLAIM
INCLUDING ZIPCODE, | 8 | 2&2 | CONSIDERATIONFoR | 9 | & | 5
AND ACCOUNT NUMBER |Q& | S55 CLAIM. E|5 |&
(See instructions above.) 8 n> 8 IF CLAIM IS SUBJECT TO 5 oS a
EB SETOFF, SO STATE. ole
>
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
Sheet no. of. continuation sheets attached Subtotal» | $
to Schedule of Creditors Holding Unsecured 0.00
Nonprionty Claims
Total> | $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and. if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

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In re ANDREW JAMES WALKER Case No.

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

py
CREDITOR’S NAME, we 5 x ey DATE CLAIM WAS be a AMOUNT OF
MAILING ADDRESS c OF INCURRED AND 4 {218 CLAIM
INCLUDING ZIP CODE, ma p F = CONSIDERATION FOR 3 A 5
AND ACCOUNT NUMBER | | S&S CLAIM. FE |5 (1g
(See instructions above.) G |4=8 | IFCLAIMISSUBJIECTTO |Z 12 15
re SETOFF, SO STATE. Oo | 3
~~
ACCOUNT NO
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
Sheet no. of. continuation sheets attached Subtotal> | $
to Schedule of Creditors Holding Unsecured 0.00
Nonpriority Claims
Total> | $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, 1f applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

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icial Form 6F) (13/07) - Cont. Document Page 23 of 31

Inre ANDREW JAMES WALKER ; Case No.

Debtor (if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

i
CREDITOR’S NAME, ~ 5 we DATE CLAIM WAS e 1a AMOUNT OF
MAILING ADDRESS c Oo Z INCURRED AND 4/218 CLAIM
INCLUDING ZIP CODE, 5 oD 5 5 CONSIDERATION FOR 4s 5
AND ACCOUNT NUMBER Qa 5 5 = CLAIM. = 5 a
(See instructions above ) oO nm 8 IF CLAIM IS SUBJECT TO & g a
= SETOFF, SO STATE. 5 |e
~
ACCOUNT NO.
ACCOUNT NO
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
Sheet no of continuation sheets attached Subtotal» | $
to Schedule of Creditors Holding Unsecured 0.00
Nonpniority Claims
Tota» | $
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and. if applicable on the Statistical
Summary of Certain Liabilities and Related Data.)

Case 15-00541-SMT Doc7_ Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

Document Page 24 of 31
B6G (Official Form 6G) (12/07)

In re ANDREW JAMES WALKER Case No.
Debtor (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
a minor child is a party to one of the leases or contracts, state the child’s initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe. guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
Fed. R. Bankr. P. 1007(m).

DM check this box if debtor has no executory contracts or unexpired leases.

NAME AND MAILING ADDRESS, DESCRIPTION OF CONTRACT OR LEASE AND
INCLUDING ZIP CODE, NATURE OF DEBTOR’S INTEREST. STATE
OF OTHER PARTIES TO LEASE OR CONTRACT. WHETHER LEASE IS FOR NONRESIDENTIAL

REAL PROPERTY. STATE CONTRACT
NUMBER OF ANY GOVERNMENT CONTRACT.

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In re ANDREW JAMES WALKER , Case No.

Debtor (if known)

SCHEDULE H - CODEBTORS=)

Provide the information requested concerning any person or entity. other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state. commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the
child's name. See, 11 U.S.C. 8112 and Fed. R. Bankr. P. 1007(m).

A Check this box if debtor has no codebtors.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
Document Page 26 of 31

aime Clem ancelaurielamcom(e(al Aan (ele Laer 1-1-e

Debtor 1 ANDREW JAMES WALKER
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Las! Name
United States Bankruptcy Court for the District of Columbia
Case number Check if this is:
(If known)
C] An amended filing
TC] A supplement showing post-petition
chapter 13 income as of the following date:
Official Form B 6l MM /DD/YYYY
Schedule I: Your Income 12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

i Describe Employment

1 Fillin your employment
information. Debtor 1 Debtor 2 or non-filing spouse

If you have more than one job,

attach a separate page with
information about additional Employment status CF Employed Employed
employers. Not employed Cl Not employed
Include part-time, seasonal, or
self-employed work.

Occupation

Occupation may Include student
or homemaker, if it applies.

Employer’s name

Employer’s address

Number Street Number = Street

City State ZIP Code City State ZIP Code

How long employed there?

a Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $
3. Estimate and list monthly overtime pay. 3. +5 0.00 + §
4 Calculate gross income. Add line 2 + line 3. 4. | $ 0.00 $ 0.00

Official Form B 61 Schedule I: Your Income page 1
Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

Document
Debtor ANDREW JAMES WALKER

First Name Middle Name Last Name

Page 27 of 31

Case number (if known)

For Debtor 1

For Debtor 2 or
non-filing spouse

Copy line 4 here ooo. cee cece tee ce eect ee teceececneeeceeereneeenateeeiees > 4. $ 0.00 g 0.00 |
5 List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions Sa. § $
5b. Mandatory contributions for retirement plans 5b. §$ $
5c. Voluntary contributions for retirement plans 5c. $ $ _
5d. Required repayments of retirement fund loans 5d. $ $
5e. Insurance 5e $ $
5f. Domestic support obligations 5f. $ $
5g. Union dues 5g. $ $
5h. Other deductions. Specify: 5h. +$ +$
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d+5e+5f+5g+5h. 6. $ 0.00 $ 0.00
7 Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 $ 0.00 $ 0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 5
monthly net income. 8a.
8b. interest and dividends 8b. § $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ $
settlement, and property settlement. 8c.
8d. Unemployment compensation 8d. §$ $
8e. Social Security 8e. § $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental $ $
Nutrition Assistance Program) or housing subsidies.
Specify: 8f.
8g. Pension or retirement income 8g. $ $
8h. Other monthly income. Specify: 8h. +$ +$
9 Add all other income. Add lines 8a + 8b + 8c + 8d + 86 + 8f +8g + 8h. 9.1 $ 0.00 $ 0.00
10 Calculate monthly income. Add line 7 + line 9. 0.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 1o| § 0.00 $ 0.90 s -

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and

other friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies

13 Do you expect an increase or decrease within the year after you file this form?

No.

11.45
2 bs 0.00
Combined

monthly income

T] Yes. Explain: | APPLIED TO OVER 6000 JOBS WITHOUT INTERVIEW OR OFFER. TOLD TOO OLD.

Official Form B 61 Schedule |: Your Income

page 2

Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
Document Page 28 of 31

LLM am Un ML oyatar-l (cola Com (o(-Tal ame Cele] ater: 1-8

Debtor 1 ANDREW JAMES WALKER fakin |

eprer First Name Middle Name Last Name Check if this Is:
Debtor 2 li
(Spouse. if filing) First Name Middle Name Last Name 0 An amended filing

Cc] A supplement showing post-petition chapter 13

United States Bankruptcy Court for the: District of Columbia expenses as of the following date:
Case number MM / DD/ YYYY

(If known)

Cl A separate filing for Debtor 2 because Debtor 2
maintains a separate household

Official Form B 6J
Schedule J: Your Expenses 12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

a Describe Your Household

1. Is this a joint case?

No. Go to line 2.

CT Yes. Does Debtor 2 live in a separate household?

Eno

Cc] Yes. Debtor 2 must file a separate Schedule J.

2 Do you have dependents? CT] No
Dependents relationship to Dependent’s Does dependent live
Do not list Debtor 1 and Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent............ee eee =]
v
Do not state the dependents’ DAUGHTER 10 No
names. CT Yes
SON No
Yes
SON No
T] Yes
7] no
C] Yes
FI no
C] Yes
3. Do your expenses include No

expenses of people other than
yourself and your dependents? MN Yes

CERES Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value

of such assistance and have included it on Schedule I: Your Income (Official Form B 61.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and § 0.00
any rent for the ground or lot. 4,
If not included in line 4:
4a. Real estate taxes 4a $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b $
4c. Home maintenance, repair, and upkeep expenses 4c. $
4d. Homeowner's association or condominium dues 4d. $

Official Form B 6J Schedule J: Your Expenses page 1
Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main

Document Page 29 of 31

Debtor 1 ANDREW JAMES WALKER
First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6 Utilities:
6a Electricity, heat, natural gas
6b Water, sewer, garbage collection
6c Telephone, cell phone, Internet, satellite, and cable services
6d Other. Specify:
7. Food and housekeeping supplies
8. Childcare and children’s education costs
9. Clothing, laundry, and dry cleaning
10. Personal care products and services
11. Medical and dental expenses
12 Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
15 Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a Life insurance
15b Health insurance
t5c Vehicle insurance
15d. Other insurance. Specify:
16. Taxes. Do not include taxes deducted from your pay or included tn lines 4 or 20.
Specify:
17. Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c Other. Specify:
17d. Other. Specify:
18.

19

20

Official Form B 6J

Your payments of alimony, maintenance, and support that you did not report as deducted

from your pay on line 5, Schedule I, Your Income (Official Form B 6).

Other payments you make to support others who do not live with you.

Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a Mortgages on other property

20b Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Case number (i known)

Schedule J: Your Expenses

13.

14.

15b.

15c.

20d.

20e

Your expenses

$
$
$
$
$
$ 500.00
$ 300.00
$ 200.00
$ 200.00
$
$ 200.00
$
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$ 200.00
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page 2
Case 15-00541-SMT Doc7 Filed 10/15/15 Entered 10/15/15 15:07:48 Desc Main
Document Page 30 of 31

Debtor 1 ANDREW JAMES WALKER Case number (if known),
First Name Middle Name Last Name
21 Other. Specify: 21. +$

22. Your monthly expenses. Add lines 4 through 21.

i
 ¢ 1,400.00

The result is your monthly expenses. 22. |

23. Calculate your monthly net income.
0.00
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $
23b. Copy your monthly expenses from line 22 above. 23d g 1,400.00
23c. Subtract your monthly expenses from your monthly income. -1.400.00
The result is your monthly net income. 23c. $ > -

24 Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

No.

[ves explain nere: SEVERE NECK INJURY FROM CAR ACCIDENT THAT WAS NOT MY FAULT. TOLD BY 3
COMPANIUES THAT THEY WANT YOUNGER PEOPLE AND | AM TOO OLD.
EMPLOYERS MAY SEEK SOMEONE MY AGE OR NECK MAY CURE.

Official Form B 6J Schedule J: Your Expenses page 3
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Document Page 31 of 31

Inre ANDREW JAMES WALKER _, Case No.
Debtor (if known)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

{ declare under penalty of perjury that [ have read the foregoing summary and schedules, consisting of sheets, and that they are true and correct to the best of

my knowledge, information, and belief. S
Lg C
Signature: 2 tpi /, Aa
fe

Date jo [iris
Debtor

Date Signature:

(Joint Debtor. if any)

[If joint case. both spouses must sign.]

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See Lt U.S.C. § 110)

I declare under penalty of perjury that. (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § LEO; (2) 1 prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U S.C. §§ 1!0(b), 110(h) and 342(b); and, (3) 1f rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

Printed or Typed Name and Title, if any. Social Secunty No.
of Bankruptcy Petition Preparer (Required by 11 US.C. § 110.)

If the bankruptcy petition preparer ts not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.

Address

xX
Signature of Bankruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer 1s not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of utle 11 and the Federal Rules of Bankruptcy Procedure may result in fines or umprisonment or both, 11 USC § 110;

ISUSC § 156.

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

I, the [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the [corporation or partnership] named as debtor in this case, declare under penalty of perjury that | have
read the foregoing summary and schedules, consisting of ___ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.

Date

Signature:

[Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor. ]

Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571
